Case 5:22-cv-01329-XR Document 13-2 Filed 03/10/23 Page 1 of 5

EXHIBIT 2
Case 5:22-cv-01329-XR Document 13-2 Filed 03/10/23 Page 2 of 5

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

 

 

SAN ANTONIO DIVISION
MELISSA GALE, §
§
Plaintiff, §
§
v §
§
MISSION HOSPICE OF SAN ANTONIO, § Civil Action No. 5:22-cv-01329-XR
LLC, §
§
Defendant. §
DECLARATION OF MICHAEL V. GALO, JR.
STATE OF TEXAS §
§
COUNTY OF BEXAR §

My name is Michael V. Galo, Jr.. I am over the age of eighteen, am competent to testify,
and have personal knowledge of the following facts:

1, I am counsel of record for the Plaintiffs in this case. I was licensed in 1994. I
worked for a federal district judge for the year following my graduation from law school,
after which I entered private practice. Since J entered private practice, I have focused on
labor and employment law. I have been board certified in labor and employment law since
1999. I handle cases on both sides of the docket. I currently charge my hourly clients
between $300.00 and $350.00 per hour. My new clients for the last several years have
engaged me at $350.00 per hour.

2. My billing rate for this case is $350.00 per hour. I set my fee at this rate because
this is the rate that the courts have approved for other experienced labor and employment
practitioners. In my opinion, this hourly rate is reasonable for a labor and employment
lawyer in San Antonio with 28 years of experience in the practice area.

Page 1 of 2
Case 5:22-cv-01329-XR Document 13-2 Filed 03/10/23 Page 3 of 5

3. I have kept contemporaneous time records of the work we performed on this case.
It is my customary practice to do so. Attached as Exhibit | to this declaration is a true and
correct copy of our fee statement. A draft of this fee statement was reviewed by me for
billing judgment, and I did delete some entries and reduced others. In my professional
opinion, based on my 28 years of experience, my knowledge of the billing practices of
other lawyers in the community, and my study of the case law regarding the awarding of
attorney fees, I believe that the time entries listed in the attached fee statement are
reasonable and that all of the work listed therein was necessary for the effective
representation of my clients. The total fee comes to $6626.68.

4, The costs of court in this case total $497.00 and consist of the filing fee and service
of process fee charged by the process server.

5: A copy of my most current CV is attached to Plaintiff's Motion for Default
Judgment as Exhibit 4.

I declare under penalty of perjury that the foregoing is true and correct.

Michael V. Galo, Jr.

Signed this 2nd day of March, 2023.

Page 2 of 2
  

Case 5:22-cv-01329-XR Document 13-2 Filed 03/10/23 Page 4 of 5

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LAW FIRM P.C,

4230 Gardendale

Building 401

San Antonio, Tx 78229
TIN XX-XXXXXXX

Invoice submitted to:

Melissa Gale

March 2, 2023

Invoice #15669

Professional Services

7/18/2022 -

7/19/2022 -

7/20/2022 -

7/28/2022 -

8/5/2022 -

8/8/2022 -

10/6/2022 -

11/21/2022 -

11/29/2022 -

Initial conference with client regarding facts of case
and subsection (h) claim

Meet with client to discuss facts of case in detail and
to discuss filing subsection (h) lawsuit

Draft demand letter

Conference with client to revise demand letter
Conference with client regarding Company's failure
to pay her last wages

Draft lawsuit

Extended conference with Melissa Gale to answer
questions | still have to complete drafting lawsuit
Legal research to survey Section 3730(h) case law,
whether plaintiff must have stepped outside her
normal duties in making complaint, individual liability

under subsection (h)

Conference with client regarding additional question |
had while drafting lawsuit

 

Hrs/Rate Amount
1.00 350.00
350.00/hr
1.50 525.00
350.00/hr
0.50 175.00
350.00/hr
0.33 116.67
350.00/hr
0.25 87.50
350.00/hr
1.60 560.00
350.00/hr
0.58 204.17
350.00/hr
1.00 350.00
350.00/hr
0.33 116.67
350.00/hr
Melissa Gale

12/2/2022 -

12/5/2022 -

12/12/2022 -

1/2/2023 -

1/31/2023 -

2/8/2023 -

3/1/2023 -

3/2/2023 -

Case 5:22-cv-01329-XR Document 13-2 Filed 03/10/23

Revise lawsuit
Extended conference with client regarding additional
questions and to review draft of lawsuit again

Final conference with client to go over lawsuit prior to
filing

Draft First Request for Production and First Set of
Interrogatories

Review court order regarding default and deadline to
file same

Begin draft of Motion for Default Judgment

Continue drafting Motion for Default Judgment

Revise and finalize Motion for Default Judgment and
supporting declaration

For professional services rendered

Additional Charges :

Qty/Price
12/13/2022 - 1 402.00
Filing fee for Original Complaint 402.00
12/15/2022 - 1 95.00
Process Services (Pronto Process Inc, 2022012589 95.00
for Business Filings)
Total costs $497.00
Total amount of this bill $7,123.68
Balance due

Page 5 of 5

Page
Hrs/Rate _ Amount
0.70 245.00
350.00/hr
0.50 175.00
350.00/hr
0.40 4140.00
350.00/hr
2.00 700.00
350.00/hr
0.13 46.67
350.00/hr
2.00 700.00
350.00/hr
2.60 910.00
350.00/hr

3.50 1,225.00
350.00/hr

18.92 $6,626.68

 

$7,123.68
